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IN THE UNITED STATES DISTRICT COURT

FoR THE wESTERN DISTRICT oF TENNESSEE 05~.IUL .., nmu

WESTERN DIVISION

 

PERRY J. LIPSEY,
Plaintiff,
vs. No. 04-2791-B/P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

Defendants.

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ORDER ASSESSING APPELLATE FILING FEE

 

Plaintiff Perry J. Lipsey, an inmate at the Federal
Correctional Center (FCC),l in Forrest City, Arkansas, who was
formerly confined at the West Tennessee Detention Facility (WTDF),
filed a notice of appeal from the Court's order of dismissal on
which judgment entered on May 12, 2005. The order of dismissal
certified under 28 U.S.C. § 1915(a)(3) that this appeal is not
taken in good faith. To the extent plaintiff sought to appeal, the
order also directed the plaintiff to comply with the Prison
Litigation Reform Act of 1995 (PLRA), 28 U.S.C. § 1915, by filing

an in forma pauperis affidavit and the inmate trust fund account

 

information required by the PLRA.
The United States Court of Appeals for the Sixth Circuit has

held that a certification that an appeal is not taken in good faith

 

1 The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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does not affect an indigent prisoner plaintiff's ability to take
advantage of the installment procedures contained in § 1915(b).
McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (Gth Cir. 1997).
Plaintiff has now submitted the documents required by §
1915(a)(2) showing the average monthly deposits and the average
monthly balance in his prison trust fund account for the six months
prior to the filing of the notice of appeal, and the account
balance when the notice of appeal was submitted. Accordingly, it
is ORDERED that in addition to the initial filing fee assessed in
the Court's previous order of dismissal, the trust fund officer at
plaintiff's prison shall calculate a partial appellate filing fee
equal to twenty percent (20%) of the greater of the average balance
in or deposits to the plaintiff's trust fund account for the six
months immediately' preceding the notice of appeal. When the
account contains any funds, the trust fund officer shall collect
them and pay them directly to the Clerk of Court. If the funds in
plaintiff's account are insufficient to pay the full amount of the
partial appellate filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiff's account and forward
them to the Clerk of Court. On each occasion that funds are
subsequently credited to plaintiff's account the prison official
shall immediately withdraw those funds and forward them to the
Clerk of Court, until the partial appellate filing fee is paid in
full. Both fees shall be collected and assessed simultaneously.
It is further ORDERED that after the partial appellate filing

fee is fully paid, the trust fund officer shall withdraw from the

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plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $l0.00, until the entire $255.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name, inmate number and the
case number on the first page of this order. The plaintiff shall
cooperate with prison officials in the making of these payments.
If plaintiff is transferred to a different prison or released, he
is ORDERED to notify the Court immediately of his change of
address. If still confined he shall provide the officials at the
new prison with a copy of this order.

The Clerk: will mail a copy of this order to the prison
official in charge of prison trust fund accounts at the FCC-Forrest
City and to the United States Court of Appeals for the Sixth

Circuit.

I'I' Is so oRDERED this §§ day%.

J. ANIEL BREEN \
I D STATES DISTRICT JUDGE

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CV-02791 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

Perry Lipsey
FCC-FORREST CITY
19436-076

P.O. Box 9000

Forrest City, AR 72336

Honorable J. Breen
US DISTRICT COURT

